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                                 MINUTE ORDER



  CASE NUMBER:             CIVIL NO. 16-00659 LEK-WRP
  CASE NAME:               Gerard K. Puana et al., vs. Katherine P. Kealoha et al.,



        JUDGE:      Leslie E. Kobayashi           DATE:             10/05/2021


 COURT ACTION: EO: COURT ORDER: GRANTING IN PART AND DENYING IN
 PART THE CITY’S MOTION TO STRIKE; DENYING THE CITY’S REQUEST FOR
 LEAVE TO EXCEED WORD LIMIT; AND DIRECTING THE CITY TO REFILE ITS
 REPLY AND CONCISE STATEMENT OF FACTS

         On August 24, 2021, Defendant City and County of Honolulu (“the City”) filed a
 Motion to Dismiss Second Amended Complaint (ECF No. 207) (“City Motion to
 Dismiss”). [Dkt. no. 216.] The City Motion to Dismiss is one of the matters scheduled
 for hearing on October 15, 2021, at 9:45 a.m. On September 24, 2021, Plaintiffs Gerard
 K. Puana and Ricky L. Hartsell, as Trustee of the Florence M. Puana Trust (“Plaintiffs”),
 filed a Memorandum in Opposition to Defendant City and County of Honolulu’s Motion
 to Dismiss Second Amended Complaint and Cross-Motion for Partial Summary
 Judgment. [Dkt. no. 238.] On October 1, 2021, the City filed: a Motion to Strike
 Plaintiffs’ Cross-Motion for Partial Summary Judgment, or in Alternative, for an
 Extension of Time (“Motion to Strike”); and an Ex Parte Motion for Leave to Exceed
 Word Limit for Its Response to Plaintiffs’ Memorandum in Opposition to Defendant City
 and County of Honolulu’s Motion to Dismiss Second Amended Complaint and Cross-
 Motion for Partial Summary Judgment (“Motion for Leave”). [Dkt. nos. 247, 248.]

          The Court DENIES the Motion to Strike as to the City’s request to strike the
 portion of Plaintiffs’ September 24, 2021 filing that is a motion for partial summary
 judgment. The Court, however, GRANTS the Motion to Strike as to the City’s request
 for an extension of time. Because a motion to dismiss and motion for summary judgment
 are analyzed under different standards, the Court will not consider Plaintiffs’ motion for
 partial summary judgment at the motion to dismiss stage. The parties are DIRECTED to
 meet and confer, and to inform the Court in a letter brief of the parties’ proposed briefing
 schedule for Plaintiffs’ motion for partial summary judgment. The letter brief shall be
 submitted to this Court by October 20, 2021. The Court will issue a briefing schedule
 after it is has reviewed the parties’ proposed schedule.

       Moreover, the Court DENIES the City’s Motion for Leave. As the parties will
 submit a proposed briefing schedule for Plaintiffs’ motion for partial summary judgment,
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 the City need not address that portion of Plaintiffs’ September 24, 2021 filing in its reply
 in support of the City Motion to Dismiss. The City’s reply and its concise statement of
 facts, filed on October 1, 2021, are therefore STRICKEN. The City is DIRECTED to file
 a new version of its reply by October 8, 2021. The new version of the reply must only
 address the City Motion to Dismiss, and it must comply with the page/word limit set forth
 in Local Rule 7.4(c). The hearing on the City’s Motion to Dismiss will proceed as
 scheduled on October 15, 2021. The City is DIRECTED to refile its concise statement
 of facts according to the briefing schedule that will be established for Plaintiffs’ motion
 for partial summary judgment.

        IT IS SO ORDERED.

 Submitted by: Agalelei Elkington, Courtroom Manager
